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                     IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION
   ___________________________________________

   IN RE COOK MEDICAL, INC., IVC FILTERS
   MARKETING, SALES PRACTICES AND                             Case No. 1:14-ml-2570-RLY-TAB
   PRODUCTS LIABILITY LITIGATION                              MDL No. 2570
   ___________________________________________

   This Document Relates to 46 Category 6 and 7 Cases
   (Listed in Exhibit A by Cause Number Order)
   ___________________________________________

                               COOK DEFENDANTS’ OMNIBUS
                            MOTION FOR SUMMARY JUDGMENT
                         IN 46 MISCATEGORIZED NO INJURY CASES

          For the reasons set forth fully in the accompanying memorandum, the Cook Defendants1

   move for summary judgment with respect to the 46 cases filed by the plaintiffs listed in

   Exhibit A and ask the Court to enter judgment in those cases because the Categorization Forms

   and supporting records they submitted fail to demonstrate that any legally cognizable injury

   occurred in those cases.

          The motion covers a non-exhaustive list of three types of “no injury” cases: (1) 27 cases

   where the only claimed complication is tilt, which is not a cognizable injury under applicable

   case law and the Court’s categorization framework (the “Tilt-Only Cases”); (2) ten cases where

   the medical records submitted demonstrate only that the Plaintiff received a filter and do not

   support any of the claimed complications/injuries selected in the accompanying Case

   Categorization Form (the “Placement-Only Cases”); and (3) nine cases where the medical

   records demonstrate that the filter was successfully removed percutaneously on the first attempt



   1
         As used in this memorandum, “Cook” and “the Cook Defendants” refer to Defendants
   Cook Incorporated, Cook Medical LLC (f/k/a Cook Medical Incorporated), and William Cook
   Europe ApS.
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   without indication of any legally cognizable injury while the filter was in the Plaintiff’s body or

   in connection with the retrieval process (the “Successfully Removed Filter Cases”).

            The terms of dismissal should be the same as those recently used for the dismissal of

   Category 1 and Category 2 cases:

            (1)      In the nine Successfully Removed Filter Cases, the dismissal should be with

   prejudice.

            (2)      In the 27 Tilt-Only Cases and ten Placement-Only Cases where it appears that the

   filter remains placed in the Plaintiff’s body, the dismissal should be with prejudice as to all

   claims, injuries, complications, and outcomes alleged in Plaintiffs’ short-form complaints, PPS

   forms, and Categorization Forms to date. With respect to re-filing in the event of a future injury,

   the Court should allow re-filing only in the Southern District of Indiana within the applicable

   statute of limitations period.

                                                  Respectfully Submitted,




   Dated: October 1, 2019                         /s/ Andrea Roberts Pierson
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                                   CERTIFICATE OF SERVICE

            I hereby certify that on October 1, 2019, a copy of the foregoing COOK

   DEFENDANTS’          OMNIBUS         MOTION         FOR    SUMMARY          JUDGMENT          IN

   46 MISCATEGORIZED NO INJURY CASES was filed electronically, and notice of the

   filing of this document will be sent to all parties by operation of the Court’s electronic filing

   system to CM/ECF participants registered to receive service in this matter. Parties may access

   this filing through the Court’s system.




                                                       /s/ Andrea Roberts Pierson




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   US.124898207.01
